                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                          CASE NO. 3:24-CV-465-FDW-DCK

 ECO FIBER INC.,                                )
                                                )
                 Plaintiff,                     )           PROTECTIVE ORDER
                                                )
    v.                                          )
                                                )
 DAVID KEVIN VANCE and                          )
 YUKON PACKAGING, LLC, ,                        )
                                                )
                 Defendants.                    )
                                                )


         THIS MATTER IS BEFORE THE COURT on the parties’ “Joint Motion For Entry Of

A Protective Order” (Document No. 75) filed January 21, 2025. Having carefully considered the

motion and the record, the undersigned will grant the motion and enter the parties’ proposed order

as follows.

         The parties request a comprehensive protective order; and all parties (collectively the

“Parties” and each individually a “Party”) that have appeared in this action consent through their

counsel of record; and the Court finds that the discovery procedures in this case may involve the

disclosure, or requested disclosure, of information, either documentary, testimonial, or both,

regarded by a designating Party as confidential information, and that a comprehensive protective

order is therefore necessary and appropriate.

         IT IS, THEREFORE, ORDERED that the following terms and conditions, which shall

apply to the above-captioned civil action only, are approved and ordered by the Court:

         1.     This Order is intended to provide a mechanism by which any Party may designate

otherwise discoverable information as confidential in order to afford it the protection provided by



                                                1

   Case 3:24-cv-00465-FDW-DCK             Document 76        Filed 01/22/25      Page 1 of 12
this Order. Nothing herein shall be construed as requiring any Party to produce confidential

information that is otherwise protected from disclosure under the Federal Rules of Civil Procedure

or other applicable rules and law.

       2.      This Order governs the use of all produced documents, responses to interrogatories

or requests for admissions, deposition transcripts, deposition exhibits, documents produced by a

third party pursuant to subpoena, or any other information, documents, objects, or things that have

been or will be produced or received by any Party, witness or other third party during pretrial

proceedings in this action pursuant to Federal Rules of Civil Procedure, as well as any and all

copies, abstracts, digests, notes, and summaries thereof. These materials are collectively referred

to herein as “Discovery Materials.”

       3.      This Order is not intended to govern the use of Discovery Materials at any hearing

or at the trial of this action. Questions regarding the protection or use of Discovery Materials

during a hearing or at trial will be presented to the Court prior to or during such hearing or trial as

each Party deems appropriate.

       4.      “Confidential Materials” means any Discovery Materials produced or disclosed by

any Party, witness, or other third party that are deemed by a Party in good faith to contain trade

secrets or other confidential or proprietary commercial, business, or personal information. Such

Confidential Materials may be designated by a Party as “CONFIDENTIAL” in the manner set

forth below.

       Certain Confidential Materials may instead be designated “HIGHLY CONFIDENTIAL,”

“ATTORNEY’S EYES ONLY,” or “HIGHLY CONFIDENTIAL – ATTORNEY’S EYES ONLY,”

or, when that is not feasible, by notifying opposing counsel in writing of such designation (“Highly


                                                  2

   Case 3:24-cv-00465-FDW-DCK               Document 76        Filed 01/22/25       Page 2 of 12
Confidential Materials” or “Highly Confidential”). Only the following Discovery Materials may

be designated as Highly Confidential Materials: any document, thing, deposition, or other

testimony reasonably considered in good faith by a Party to contain trade secrets or highly

competitive and/or sensitive, nonpublic proprietary or confidential information.

       Such materials may be designated by a Party as “HIGHLY CONFIDENTIAL –

ATTORNEYS EYES ONLY” in the manner set forth below.

       5.      Confidential Materials shall not include:

               (a) publicly available advertising materials;

               (b) materials that on their face show that they have been submitted to any public or

       governmental entity without a request for confidential treatment;

               (c) articles appearing in any publicly available publication;

               (d) information otherwise publicly available; or

               (e) information of a Party that is otherwise Confidential Materials and that is

       thereafter intentionally disclosed by such Party without obligations of confidentiality.

       6.      With respect to the production of documents or things, any Party may designate

documents or things as Confidential Materials by stamping or labeling them with

“CONFIDENTIAL,” or if applicable, with “HIGHLY CONFIDENTIAL,” “ATTORNEY’S EYES

ONLY,” or “HIGHLY CONFIDENTIAL – ATTORNEY’S EYES ONLY,” or, when that is not

feasible, by notifying opposing counsel in writing of such designation. Only the portion of the

document considered to be Confidential Materials shall be so designated; and when less than the

entirety of a document is Confidential Materials, the first page of the document should be marked

to indicate that portions of the document are Confidential Materials. Any portion of a document

not specifically designated as Confidential or Highly Confidential shall not be deemed as such.



                                                 3

   Case 3:24-cv-00465-FDW-DCK              Document 76         Filed 01/22/25      Page 3 of 12
Documents or things produced by a witness or other third party may be designated as Confidential

or Highly Confidential in the same fashion as documents produced by a Party.

       Depositions may be designated Confidential or Highly Confidential by indicating that fact

on the record at the deposition or within 10 business days of receipt of the initial transcript. If a

Party has advised the court reporter that confidential information has been disclosed during a

deposition, the court reporter shall include on the cover page the following indication:

“DEPOSITION CONTAINS [HIGHLY] CONFIDENTIAL INFORMATION OF [NAME OF

DESIGNATING PARTY] — SUBJECT TO A PROTECTIVE ORDER.” Within 20 business days

of receipt of the initial deposition transcript, the designating Party shall advise the court reporter

and opposing counsel of the specific pages and lines that contain Confidential Materials and their

designation. Those specific pages and lines shall be the only portions of the depositions deemed

to be Confidential Materials. The court reporter shall supplement the transcript to mark the specific

pages and lines designated as Confidential or Highly Confidential and amend the cover page to

reflect that these specific designations have been made. Counsel for the opposing Party may have

immediate access to the deposition transcript, but prior to the page and line designations, shall treat

the entire transcript in accordance with its designation at the deposition or within 10 days of receipt

of the initial transcript. With respect to answers to interrogatories or responses to requests for

admissions, a Party may designate portions of such responses as Confidential or Highly

Confidential by clearly labeling them as such in the body of the response (attaching the

Confidential Materials separately as exhibits).

       7.      If a Party contends that any document has been erroneously designated as

Confidential or Highly Confidential, it shall nevertheless treat the document according to its

designation unless and until it obtains the designating Party’s written permission to do otherwise.



                                                  4

   Case 3:24-cv-00465-FDW-DCK               Document 76        Filed 01/22/25       Page 4 of 12
If the designating Party does not so consent, the Parties shall confer in an effort to resolve the

dispute as required by the Federal Rules of Civil Procedure as well as this Court’s Local Rules. If

the Parties cannot resolve the dispute, the Party that objects to the designation may submit the

dispute to the Court pursuant to the Federal Rules of Civil Procedure as well as this Court’s Local

Rules. Nothing in this Order shall constitute a waiver of any Party’s right to object to the

designation of a particular document as Confidential or Highly Confidential.

       8.      Confidential Materials designated Confidential in accordance with section 6 will

be disclosed only to the following persons, except upon the prior written consent of the designating

Party or upon order of the Court:

               (a) counsel of record for the Parties and the direct employees of such counsel who

       are materially assisting in the preparation or trial of this action;

               (b) the Parties, members of each Party’s control group, defined as any officers,

       directors, shareholders, or other employee or agent of a Party that is involved in the defense

       or prosecution of the instant lawsuit or the co-pending lawsuit in federal district court, the

       Parties’ legal counsel, and the employees of such legal counsel;

               (c) bona fide independent (i.e., not employed by or affiliated with a Party or an

       affiliated company of a Party) consultants and experts retained for the purpose of this

       action, to the extent necessary for the conduct of this action;

               (d) deponents, who may be shown Confidential Materials in preparation for their

       deposition and during their deposition, but shall not be permitted to keep copies of

       Confidential Materials nor any portion of the deposition reflecting the Confidential

       Materials;




                                                  5

   Case 3:24-cv-00465-FDW-DCK               Document 76         Filed 01/22/25    Page 5 of 12
            (e) the Court and its employees, including during any hearing or the trial of this

  matter;

            (f) court reporters and videographers taking, transcribing, or recording testimony

  given at a deposition;

            (g) other outside counsel representing any Party to this action in litigation by and

  between the same or similar parties with the same or similar issues provided that such

  counsel agrees to be bound by the terms of this Order and seeks a similar Order in such

  case;

            (h) nonparty witnesses whom counsel deem reasonably necessary for the

  preparation and trial of this action;

            (i) any other person or entity to whom the Court orders or allows disclosure after

  notice and opportunity for hearing; or (j) by mutual consent of the Parties.

            Confidential Materials designated as Highly Confidential will be disclosed only to

  the persons listed in subsections (a), (c), (e), (f), (g), (i), and (j), except upon the prior

  written consent of the designating Party or upon order of the Court. Before Confidential

  Materials designated as Highly Confidential are disclosed to anyone listed above (except

  the Court and its employees, court reporters, and videographers), such person shall be

  provided with a copy of this Order and shall sign a Certification in the form attached hereto

  as Exhibit A, signifying that he/she has carefully and completely read, understands, and

  agrees to be bound by this Order. All such Certifications shall be maintained by counsel

  of record and shall be delivered to counsel of record for the designating Party at the

  conclusion of the litigation. As to nonparty witnesses covered in subsection (h) above, or a

  nonparty deponent who is testifying pursuant to subpoena and who refuses to sign Exhibit



                                              6

Case 3:24-cv-00465-FDW-DCK                Document 76     Filed 01/22/25     Page 6 of 12
       A, the Party that plans to disclose Confidential Materials to such persons or witnesses must

       advise the designating Party by written notice to its counsel of record 5 business days

       before disclosure to allow the designating Party an opportunity to object to the disclosure.

       Such notice shall include a list of the specific Confidential Materials that the Party plans to

       disclose. If the designating Party objects to the disclosure, no disclosure of Confidential

       Materials shall be made to nonparty witnesses until the resolution of such objection by

       agreement of the Parties or by the Court. When an objection is made to disclosure of

       Confidential Materials in connection with an upcoming deposition of a nonparty deponent

       who refuses to sign Exhibit A, the deposing party may move forward with such deposition

       and may hold the deposition open with respect to questions concerning the objected-to

       documents.

       9.      If a Party wishes to disclose Confidential Materials to any person not described in

section 8 of this Order, permission to so disclose must be requested from the designating Party in

writing. The designating Party shall respond to the request within 10 business days; and a failure

to object shall be deemed a waiver by the designating Party, and the Party to make the proposed

disclosure may do so without violating this Order. If the designating Party objects to the proposed

disclosure, such disclosure shall not be made unless, upon the Parties’ compliance with the Federal

Rules of Civil Procedure and all applicable local rules, the Court orders otherwise.

       10.     Any Party wishing to file any Confidential Materials with the Court, including any

portion of a court paper that discloses Confidential Materials, shall move to file the documents

under seal as required by LCvR 6.1. When filing a motion, the filing Party will cite to the Court

the grounds for filing the Confidential Materials under seal. For purposes of LCvR 6.1 and 7.1, a

Party’s designation of material as Confidential or Highly Confidential does not, by itself, serve to



                                                 7

   Case 3:24-cv-00465-FDW-DCK              Document 76        Filed 01/22/25       Page 7 of 12
demonstrate that sealing is warranted. Likewise, consent of the other Parties does not relieve the

designating Party of its obligation to show that sealing is warranted.

       11.     Except as otherwise provided in this Order, all Parties to this action and persons

with access to Confidential Materials shall treat all Confidential Materials as Confidential, or

Highly Confidential, as the case may be, and shall take appropriate, reasonable steps to ensure that

such materials remain confidential or Highly Confidential.

       12.     All Confidential Materials produced by any Party, witness, and/or other third party

during the course of this action shall be used only for the prosecution or defense of this action and

shall not be used or employed for any other purpose whatsoever; except that the Parties agree that

a Party may also use Confidential Materials in connection with the ongoing NC Business court

litigation, Case Number 24CV020983-590 (“Related State Case”), so long as a protective order

with protections comparable to this Order is in place in such other litigation, and further agree to

bates number any documents produced in either matter as if said documents were part of a single

document production (i.e., one numbering system for both matters), if feasible, so as to avoid

confusion. This agreement is intended only for purposes of convenience and shall not be used as

an admission of any kind relating to the relevance or admissibility of any document.

       13.     Nothing contained in this Order shall restrict the rights of any Party to use its own

documents or to use information obtained or developed by the Party independently of and without

reference to documents, transcripts, and other information provisionally afforded confidential

treatment pursuant to this Order.

       14.     Inadvertent production of documents or information which should or might have

been designated Confidential without a Confidential designation or a Highly Confidential

designation shall not be deemed a waiver in whole or in part of a Party’s claims of confidentiality;



                                                 8

   Case 3:24-cv-00465-FDW-DCK              Document 76        Filed 01/22/25      Page 8 of 12
provided that a Party who becomes aware that its confidential documents or information have been

inadvertently produced shall promptly notify all other Parties in writing of that fact and shall make

such designation as may be appropriate under this Order at that time.

       15.     Inadvertent production of documents or things that are subject to work product

protection, the attorney-client privilege, or other privilege shall not constitute a waiver of such

protection or privilege, and a receiving Party who becomes aware that protected or privileged

documents or things produced by another appear to have been produced inadvertently shall

promptly contact the producing Party in writing to inform it of that fact. In addition, a producing

Party who becomes aware of the inadvertent production of privileged or protected materials shall

promptly notify the receiving Parties in writing. Once a receiving Party becomes aware of such

inadvertent disclosure, the receiving Party shall make no further use or disclosure of the

inadvertently produced documents or things. Such inadvertently produced documents or things

shall be returned to the producing Party upon request, or shall be destroyed, at the election of the

producing Party, regardless of whether the receiving Party agrees with the claim of privilege or

work-product protection. In the event that the receiving Party disagrees with the claim of privilege

or work-product protection, the receiving Party shall nevertheless treat the document according to

its designation unless and until it obtains the producing Party’s written permission to do otherwise.

If the producing Party does not so consent, the receiving Party shall confer with the producing

Party in an effort to resolve the disagreement as required by local rule. If the Parties cannot resolve

their disagreement, the receiving Party may submit the dispute to the Court pursuant to the Federal

Rules of Civil Procedure and any applicable local rule.




                                                  9

   Case 3:24-cv-00465-FDW-DCK               Document 76        Filed 01/22/25       Page 9 of 12
       16.     This Order is without prejudice to the right of any Party to oppose disclosure of any

information or production of any document or thing for any reason or ground permitted by

applicable law, including, without limitation, the Federal Rules of Civil Procedure and Evidence.

       17.     The ultimate disposition of any Confidential or Highly Confidential Materials filed

with the Court shall be subject to final order of the Court upon completion of the litigation.

       18.     This Order shall not preclude any Party from applying to the Court for relief from

any provision hereof or from asserting that certain Confidential or Highly Confidential Materials

should receive greater or lesser confidentiality protection than that provided herein for

Confidential Materials.

       19.     Unless otherwise agreed by counsel for the parties, all Confidential Materials and

all copies thereof, shall be returned to the designating Party within 15 days of the termination of

this action or the Related State Case, whichever occurs later, or shall be destroyed, at the option of

the Party designating such materials during discovery.

       20.     This Order is without prejudice to the right of any Party to seek modification or

amendment of this Order by further order of the Court upon motion and notice. This Court shall

have continuing jurisdiction to modify, enforce, interpret, or rescind this Order, notwithstanding

the termination of this action.

       21.     If a Party or its counsel receives a notice of any subpoena, court order, or other

compulsory process commanding production of Confidential Materials that a Party has obtained

under the terms of this Order, then counsel for such Party shall within 5 business days notify the

designating Party in writing. The designating Party shall be responsible for seeking whatever

appropriate protective orders or other relief it desires before such time that the Party receiving the

subpoena, order, or other compulsory process must comply with the same.



                                                 10

   Case 3:24-cv-00465-FDW-DCK              Document 76        Filed 01/22/25      Page 10 of 12
       SO ORDERED.
                            Signed: January 22, 2025




.




                                         11

    Case 3:24-cv-00465-FDW-DCK    Document 76          Filed 01/22/25   Page 11 of 12
                                          EXHIBIT A


                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                         CASE NO. 3:24-CV-465-FDW-DCK

ECO FIBER INC.,                                      )
                                                     )
               Plaintiff,                            )
                                                     )
       vs.                                           )
                                                     )
DAVID KEVIN VANCE and                                )
YUKON PACKAGING, LLC,                                )
                                                     )
            Defendants.                              )
______________________________________               )


       I hereby certify (i) I understand discovery material and/or Confidential Information are

being provided to me pursuant to the terms and restrictions of the Stipulated Protective Order

Pursuant to Fed. R. Civ. P. 26(c) (the “Order”) entered by the United States District Court for the

Western District of North Carolina (the “Court”) in this action, and (ii) I have read said Order. I

further certify I understand the terms of the Order, I agree to be fully bound by the Order, and I

hereby submit to the jurisdiction of the Court for purposes of enforcement of the Order. I

understand a violation of the Order may be punishable by contempt of Court.


Dated: ___________________                   Signature: ________________________________

                                             Name: ___________________________________

                                             Address: _________________________________

                                                         _________________________________




  Case 3:24-cv-00465-FDW-DCK              Document 76       Filed 01/22/25      Page 12 of 12
